 Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 1 of 9 PageID #: 1951




Exhibit 2

Defendant’s Statement of Facts

Legal Document Under Oath

Factual conclusions of historical research.
   Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 2 of 9 PageID #: 1952



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

                                                     )
  THE HONORABLE ORDER OF                             )     Civil Action No. 3:20-cv-132-RGJ-RSE
  KENTUCKY COLONELS, INC.                            )
          Plaintiff                                  )
                                                     )
         vs.                                         )             STATEMENT OF FACTS
                                                     )
  COL. DAVID J. WRIGHT                               )
            Defendant                                )
                                                     )

                    STATEMENT OF FACTS UNDER OATH IN SUPPORT
                          OF DECLARATORY JUDGEMENT

       Declarant, ​Colonel David J. Wright​, an Honorary Commissioned Officer of the Commonwealth

of Kentucky appointed by Governor Paul E. Patton with letters patent as a Kentucky Colonel, duly sworn

and admitted to this Court as Defendant in ​Pro Se​, under oath, hereby truthfully declares and states the

following as adjudicative and indisputable facts:

   1. I am an author, researcher and webmaster that is and has been engaged in writing, publishing

       articles and developing content, as well as developing and organizing civil society organizations

       for people who are KENTUCKY COLONELS. I am and have been in the process of organizing

       fraternal and social incentive programs online for people who are KENTUCKY COLONELS since

       1998; I have been involved in online activism with people who are KENTUCKY COLONELS

       since 2006; I have been involved in writing a book about KENTUCKY COLONELS since January

       2018 entitled “​Kentucky Colonels: Forefathers, Founders and Model Figures of Kentucky

       Culture, Customs, Folklore, History, Music, Society, Traditions, and Values”, ​a creative work

       that was pre-registered with the U.S. Copyright Office by myself and on the behalf of other authors

       who are KENTUCKY COLONELS in June 2020 with a scheduled publication date in 2021. I
Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 3 of 9 PageID #: 1953



   consider myself the world's foremost authority on Kentucky colonelcy and American colonelcy

   dating back to 1651 based on 3 years of research, I believe only a “Colonial Era” American history

   expert will be qualified enough to remotely challenge or criticize my research and factual findings

   which I am referencing in my website, that limitedly invites objective public participation and

   criticism being used to outline an unpublished final draft.

2. I am the author and webmaster of COMMONWEALTH COLONELS, a Creative Commons

   publication about Kentucky Colonelcy, which is part of the ​American Colonels Network​, formerly

   Kentucky Colonel Foundation​ from February 26, 2020 until August 13, 2020, and formerly

   Kentucky Colonels International​ ​from March 06, 2009 until February 25, 2020; the website

   contains hundreds of unique links to public domain resources and user accessible cataloged

   governmental resources created by independent persons and sources (newspapers) utilized in the

   compilation of the foregoing facts which are represented as my own historical account, based on

   logical interpretation and research so far, the website(s) is/are not established with any commercial

   purpose nor have any associated entities engaged in any commercial activities since prior to 1998.

3. KENTUCKY COLONELS is a generic, highly descriptive and merely descriptive term for

   individuals that have been recognized by the Governor of Kentucky with the “honorable” title with

   a commission as a KENTUCKY COLONEL since between 1895 and 1899.

4. KENTUCKY COLONELS are well-known personages of Kentucky’s history and were widely

   recognized in newspapers, encyclopedias, history books and American literature since prior to

   1889.

5. KENTUCKY COLONELS is a generic term that can be applied to individuals dating back to 1775

   to describe any number of persons who were discoverers, founders, pioneers, settlers or

   commissioned officers of Kentucky County in the Colony of Virginia who were designated by the

   governors of Virginia or by Brigadier General George Rogers Clark to maintain civil order, survey

   lands, divide counties, and establish governments in the Kentucky District of the Commonwealth

   of Virginia.
Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 4 of 9 PageID #: 1954



6. The first official KENTUCKY COLONEL was Col. John Bowman who was commissioned by

   Virginia Governor Patrick Henry Jr. on December 21, 1776 to establish a militia and form a

   government in Kentucky County beginning January 01, 1777.

7. KENTUCKY COLONELS refers to the pioneer founders and settlers (our forefathers) of

   Boonesborough from the Transylvania Company (Colony) (private company founded in North

   Carolina) who together wrote the Kentucke Magna Charta on May 23, 1775 headed by Colonel

   Richard Henderson, Colonel Daniel Boone, Colonel Captain James Harrod and at least ten other

   colonels from four historic Kentucke settlements. The Transylvania Colony was one of the first

   democratic governments founded in North America, independent of England.

8. KENTUCKY COLONELS refers to many of those persons who fought in the American

   Revolution between 1775 and 1783 with the rank of private to general who were granted land

   bounties through 1825 by the Governors of Virginia to settle in Kentucky.

9. KENTUCKY COLONELS refers to most of those persons that founded Kentucky, seceded from

   Virginia to make the Commonwealth of Kentucky the 15th state including Col. Isaac Shelby who

   was a commissioned colonel from Sullivan County, North Carolina and was unanimously selected

   by other colonels to become Kentucky’s first governor in 1792.

10. KENTUCKY COLONEL refers to the first colonel commissioned by the Commonwealth’s State

   Legislature in 1813, Col. Richard Mentor Johnson to raise a mounted militia, who went on to

   become the 7th Vice-President of the United States.

11. KENTUCKY COLONELS refers to many of the officers and veterans of the War of 1812, the

   Mexican American War and the Indian Wars who adopted the title or were commissioned as

   officers including Colonel James C. Neill, Colonel Hayden Edwards and Colonel Jim Bowie.

12. KENTUCKY COLONELS refers to the first plantation owners, horse breeders, newspaper editors,

   and whiskey distillers that were conferred the title as a courtesy (officially and unofficially)

   between 1792-1895.
Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 5 of 9 PageID #: 1955



13. KENTUCKY COLONELS may refer to all colonels from Kentucky or moved to Kentucky who no

   one knows how they became a colonel before the year 1900.

14. KENTUCKY COLONELS refers to many of the many governors’ staff that were granted the title

   of Colonel or rank of colonel to distinguish them as an aide-de-camp or as members of the State

   Guard between 1817-1921.

15. KENTUCKY COLONELS refers to Louisville physicians, businessmen, lawyers and professors

   who were commissioned as officers without duties to wear the Union uniform during the Civil War

   to create a Union presence in Kentucky by Col. John Marshall Harlan in 1861 under the authority

   of President Abraham Lincoln.

16. KENTUCKY COLONELS refers to members of the Kentucky Colonels Club(s) of Louisville,

   Dallas, Chicago, California, New York and other places established and operated beginning in

   1903.

17. KENTUCKY COLONELS refers to members of the Kentucky Colonels Marching Club, a political

   organization and marching group made up of Irish Americans who were granted the honorable title

   by Kentucky’s democratic governors that began in 1904.

18. KENTUCKY COLONELS refers to members of the Kentucky Colonels Drum and Bugle Corps,

   Post 7 in Frankfort, Kentucky in the early part of the 20th Century.

19. KENTUCKY COLONELS refers to members of the Kentucky Colonels Association of Louisville

   that met at the Brown Hotel up to at least 1929 and published the Kentucky Colonels Handbook in

   1930, located in the Eastern Kentucky University Archives.

20. KENTUCKY COLONELS refers to members of the Honorable Order of the Blue Goose

   International, Kentucky Colonel Model Initiation Team established in Chicago in 1914 by Col.

   Frank G. Snyder.

21. KENTUCKY COLONELS refers to over 250,000 individuals that were commissioned with the

   “honorable” title by the governors of the Commonwealth of Kentucky for their individual

   achievements, noteworthy accomplishments, deeds, and service to community, state or nation.
Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 6 of 9 PageID #: 1956



22. KENTUCKY COLONELS refers to members of any one of ten or more fraternal organizations

   dedicated to Kentucky colonelcy located in various countries such as Spain, Germany, France,

   Italy, the United Kingdom, Canada, and Australia.

23. KENTUCKY COLONELS refers to twenty (20) expired, abandoned, cancelled or live trademarks

   related or unrelated to Kentucky colonelcy registered by the USPTO since 1960 or earlier.

24. KENTUCKY COLONELS refers to members of several online social media groups on Facebook

   established for those who have received the Kentucky Colonel Commission from the Governor of

   Kentucky that are independent of the Plaintiff.

25. KENTUCKY COLONELS refers to the proprietors, administrators, editors and social media page

   followers of any one of six or more Facebook pages established by organizations dedicated to

   Kentucky colonelcy.

26. KENTUCKY COLONELS may refer to one of more than eight different websites dedicated to

   Kentucky colonels and the ideas of both the Plaintiff and the Defendant.

27. KENTUCKY COLONELS refers to the volunteer donors of the Honorable Order of Kentucky

   Colonels (Plaintiff) that make regular donations to the organization.

28. KENTUCKY COLONELS refers to the 19th Century gentlemen who made the corn whisky into

   Bourbon.

29. KENTUCKY COLONELS is that chicken place down the road.

30. KENTUCKY COLONELS are the owners of the prestigious Bluegrass Thoroughbred Farms in

   Kentucky in the late 19th and early to mid-20th centuries.

31. KENTUCKY COLONELS refers to all Kentucky colonels including all those individuals who are

   not members and do not contribute, donate, endorse, support, pay fees, volunteer or predicate the

   beliefs and values of the Honorable Order of Kentucky Colonels (Plaintiff).

32. KENTUCKY COLONELS refers to protagonists, antagonists and subjects of American literature,

   Kentucky folklore and history found in over 100 works of fiction and non-fiction.
Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 7 of 9 PageID #: 1957



33. KENTUCKY COLONEL or KENTUCKY COLONELS may refer to over 50 common law

   businesses or organizations including several sports teams, restaurants, school mascots, music

   groups, hotels and other establishments that were named arbitrarily, descriptively, generically,

   suggestively or fancifully by persons who were known to have received a Kentucky Colonel

   commission since at least since 1890 and others that have never received a commission.

34. KENTUCKY COLONELS refers to members of many large fraternal organizations subdivided

   within a Kentucky Colonel subgroup such as a “Kentucky Colonels Club” or “Subcommittee” and

   other generic or descriptive terms. There are at least 30 organizations like this in the United States

   and some in other countries. Most frequently associated with Rotary Clubs, Masonic Lodges,

   Foriegn Legion Halls, universities, and other organizations.

35. CHARLES S. TODD (1791-1871); [I]n 1813, he was made a captain of infantry of the regular

   army, and became an aide to General William Henry Harrison in the Battle of the Thames. Todd

   remained under the command of General Harrison until the general’s retirement in 1814. Todd

   came under the command of General Duncan McArthur who promoted then Major Charles Todd

   to the position of Inspector General in the Michigan Territory with the rank of “colonel”. Later in

   1815, Colonel Charles Todd returned to Kentucky with interests in freemasonry and government in

   Frankfort, where he met Letitia Shelby (1799-1868). Colonel Todd wrote “a letter” to Governor

   Isaac Shelby (which he withheld asking for his daughter Letitia’s hand in marriage), afterwards

   Letitia discovered the letter so Gov. Isaac Shelby and Col. Charles S. Todd met personally. Isaac

   Shelby’s daughter became Mrs. Letitia Todd (Shelby) and they had 12 children. In 1816, Col.

   Todd, opened a law office in Frankfort, was appointed Secretary of State, and by 1817 became an

   elected legislator. He was appointed a special ambassador to Colombia under President James

   Monroe and Secretary of State Quincy Adams around 1820.

36. ISAAC SHELBY (1750-1826); Isaac Shelby worked as a surveyor for the Transylvania Company

   in August of 1775 where Shelby met Colonel Daniel Boone and other colonels in the colony.

   Shelby was granted lands in exchange for his work which he also surveyed. On 10/30/1779, the
Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 8 of 9 PageID #: 1958



   North Carolina General Assembly established Sullivan County (Tennessee) out of Washington

   County, and soon thereafter they commissioned Isaac Shelby as the “colonel” over the

   newly-created Sullivan County Regiment of Militia. In 1780 he was engaged as one of the “Over

   the Mountain Men” in the Battle of Kings Mountain. Once he had completed this service, Shelby

   returned to Kentucky in April 1783 and established himself on his new plantation near

   Boonesborough, where for the next six years he devoted himself to his favorite occupation, the

   cultivation of the soil and the raising of livestock. Shelby held both Revolutionary War Land

   Bounties and original Transylvania Company Land Warrants totalling in the many thousands of

   acres. Isaac Shelby was active in politics and travelled regularly to Danville, he was unanimously

   selected by his peers (mostly colonels) to be the first governor in 1791. A great number of these

   delegates (mostly colonels) became the first legislators and county justices, they remained in their

   authority until 1799 when they introduced a new Kentucky Constitution.

37. In 1890, Opie Read wrote a book “A KENTUCKY COLONEL” which helped to define the idea of

   a civilian gentleman plantation owner living in post-antebellum Kentucky with a white goatee. The

   book was a bestseller and was widely reviewed and advertised with imagery and the “idea”. In

   1892 the book was made into a play that was widely travelled, in 1920 a silent film “The Kentucky

   Colonel” based on the book was widely shown in theaters from coast-to-coast.

38. Each Governor of the Commonwealth of Kentucky is at his/her own discretion and prerogative as

   the elected head-of-state to set the conditions for the dispensary of the “honorable” title/rank to

   become recognized as a KENTUCKY COLONEL since the state officially adopted it as an

   honorary civilian commission between 1895 and 1899 during Governor William O’Connell

   Bradley’s administration. Prior to the Bradley Administration the rank of COLONEL was granted

   only to members of the governor’s honorable staff.

39. From the Bradley Administration until around 1921 under Gov. Edwin P. Morrow the title of

   KENTUCKY COLONEL was used for both recognizing civilians and the governor’s actual

   working uniformed ceremonial staff.
   Case 3:20-cv-00132-RGJ Document 82-3 Filed 12/16/20 Page 9 of 9 PageID #: 1959



   40. KENTUCKY COLONELS is a term that was definitively merged into the public domain and

       cemented into the public imagination on or before September 1889 when a Louisville Post

       newspaper editor wrote a short article entitled “KENTUCKY COLONELS” with the byline “How

       It Happens They are so Numerous In the Blue Grass State” which was circulated and republished

       by at least 80 American newspapers from coast-to-coast.



       I certify under penalty of perjury under the laws of the United States of America that the above

statements are true and correct to the best of my knowledge. Executed on December 15, 2020.



Caracas, Venezuela
Dated: December 15, 2020




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